Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 1 of 28




           Exhibit 1
                 Case 22-10066-CTG              Doc 328-1       Filed 07/05/23   Page 2 of 28




                          The Rosner Law Group LLC
                                                     Attorneys at Law


    824 N. Market Street, Suite 810                                                FREDERICK B. ROSNER*
    Wilmington, Delaware 19801                                                     rosner@teamrosner.com
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                                                                                           * Also admitted in NY
                                                                                           + Also admitted in PA
                                                      June 30, 2023

Via Email
Bryan J. Hall, Esq.
David Carickhoff, Esq.
Archer & Greiner P.C.
300 Delaware Avenue, Suite 1100
Wilmington, DE 19801

           Re:      In re Team Systems International, LLC
                    Chapter 7 Case No. 22-10066-(CTG)
                    Demand Letter/Derivative Action

Dear Bryan and David:

       As you know, this firm is bankruptcy counsel to defendants Deborah Evans Mott, Steven
M. Acosta, Christopher Mott, John S. Maciorowski, (collectively, the “TSI Members”) and Addy
Road, LLC. This letter (and the motion to be filed, if necessary, seeking derivative standing)
addresses the Trustee’s failure to: (a) prosecute the Appeal 1 and (b) file a claim for or otherwise
seek to collect approximately $8.2 million in accounts receivable that constitute estate property
(the “A/R”). The Trustee has been the permanent Trustee for nearly one year. The Trustee has an
affirmative duty to conduct due diligence about estate assets including, specifically, the A/R and
make a reasonable effort to collect the A/R acting alone or in concert with the TSI Members.

        It appears to the TSI Members that the Trustee either disbelieves the A/R exist without
undertaking the necessary diligence to support that belief or simply prefers to litigate (and thereby
incur substantial professional fees) to augment the estate when augmentation is not necessary. As
the TSI Members repeatedly have stated, there is more than enough value in collecting the $13.5
million receivable and the other A/R to pay lawful claims against the estate. That means


1
    Familiarity with capitalized terms is assumed.

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                Case 22-10066-CTG           Doc 328-1      Filed 07/05/23       Page 3 of 28




prosecuting the FAC and related injunctive relief provided no value to the estate and only
unnecessarily burdened the estate with professional fees.

        The Trustee’s chosen path of estate administration, litigation as opposed to mutual
cooperation, has been extremely prejudicial both to creditors holding lawful claims against the
estate and the TSI Members. The Trustee’s path of aggressive litigation combined with the failure
to prosecute the Appeal has unnecessarily prolonged the administration of the case—thereby
delaying distributions to creditors holding lawful claims—and, assuming this is a 100% case, every
dollar paid in professional fees comes directly out of the pockets of TSI Members. Even worse,
following the Trustee’s administration of the case, the TSI Members intend to re-start TSI and
reserve the right to hold the Trustee fully liable for any A/R he failed to seek to collect while the
automatic stay was in effect and the statute of limitations to file such claim expired.

        The purpose of this letter is to make formal demand on the Trustee to prosecute the Appeal
and either collect the A/R or allow the TSI Members to collect the A/R for the estate. The TSI
Members intend to file a motion seeking derivative standing to take such action for and on behalf
of the estate to be heard on July 19, 2023. Hopefully, a mutually agreeable arrangement can be
reached before the hearing date.

I.        The Trustee’s Failure to Prosecute the Appeal.

        The Trustee was appointed on March 31, 2022 [Bankr. D.I. 152] as interim trustee and a
disputed trustee election ensued. The Trustee qualified as the permanent Trustee on July 15, 2022
[Bankr. D.I. 223]. During the disputed election, the Trustee objected to claims of GPDEV, LLC
and Simon Exploration, Inc. (together, the “Judgment Creditors”) [Bankr. D.I. 164, 165]. The
Trustee advanced the position that the Appeal had substantial merit and should be prosecuted. In
his June 15, 2022 testimony, the Trustee represented to the Court, that the Appeal “has merit” and
the “the mistakes [of the trial court ruling] are so large you know, we’re talking several millions
of dollars . . . .” See June 15, 2022 Hearing Transcript.

        However, since he qualified as the permanent Trustee, the Trustee has done an about face
and evinced no intent to prosecute the Appeal. Although he may claim that the estate is
administratively insolvent (because of legal fees unnecessarily incurred), the TSI Members, who
share the Trustee’s view that the Appeal has much merit, have offered to pay the full cost of
prosecuting the Appeal provided the Trustee will not agree to settle the Appeal without first
obtaining the TSI Members’ written consent not to be unreasonably withheld (the “Offer”). The
Offer was made as early as August 4, 2022. See exchange of email attached hereto as Exhibit A.

        The Appeal is already filed and launched. TSI’s appellant counsel, the Bresky Law Firm, 2
has filed an Opening Brief and, post-petition, was retained by the estate [Bankr. D.I. 75]. The
Bresky firm has agreed to prosecute the Appeal to conclusion for a flat fee of $40,000. See June
24, 2022 Letter from Robin Bresky to Kevin Mann, Esq., counsel to TSI Members, attached hereto
as Exhibit B. The TSI Members’ Offer remains open.



2
    The Bresky Law Firm has merged with the law firm Schwartz Sladus Reich Greenberg Atlas LLP (SSRGA).

{00035945. }                                           2
                 Case 22-10066-CTG               Doc 328-1        Filed 07/05/23         Page 4 of 28




        In the 13 months the Offer has remained open, the Trustee has never responded to the Offer
nor has he offered any legitimate business reason why the Appeal should not be prosecuted. It
cannot be disputed that the potential reduction of the Judgement Creditors’ claims against the
estate is critical both to the administration of the estate and the TSI Members. A reversal of the
judgment on Appeal will substantially reduce the stress on the Trustee to pay estate creditors
holding valid claims against the estate in full and obviate the need for any injunctive relief against
any of the TSI Members.

        The reasons for moving forward with the Appeal are compelling. First, other than pursuing
the Appeal, there is no way for the Trustee to object to the claims asserted by the Judgment
Creditors. Second, if the Appeal is successful, it will reduce the aggregate claims against the estate
by, at a minimum, 70%. Third, if the Appeal is not successful, the estate is no worse off than it is
now. Fourth, by accepting the Offer, the Trustee will not have to expend any estate assets in terms
of time or professional fees vetting the Judgement Creditors’ claims. Fifth, counsel for TSI in the
Appeal already has been retained by the estate. Sixth, pursuing the Appeal will only bolster the
Trustee’s negotiating leverage with the Judgement Creditors. Seventh, the Appeal is compelling
because, as a matter of law, it is unlawful for the Judgment Creditors to receive a percentage
commission for merely securing a government contract. See 41 U.S.C. § 3901(b)(1) (the federal
statute prohibits any person from “secur[ing] the contract on an agreement or understanding for a
commission, percentage, brokerage, or contingent fee….”); see also Federal Acquisition
Regulation 52.203-5(a), which was specifically incorporated into FEMA’s Request for Proposal
and MATOC (similarly prohibits such contingent fees, defined as “any commission, percentage,
brokerage, or other fee that is contingent upon the success that a person or concern has in securing
a Government contract.”).

           II.      The Trustee’s Failure to Submit a Claim to Collect the A/R.

        As the Trustee is (or should be) aware, there are approximately $8.2 million 3 in A/R that
the Trustee could seek to collect for the benefit of the estate. There are compelling reasons the
Trustee should seek to collect such amount. First, the A/R is property of the estate, and the Trustee
has an affirmative fiduciary duty to monetize and collect all property of the estate. As a corollary,
because the A/R is property of the estate, the TSI Members are prohibited from collecting it.
Second, there is a statute of limitations looming, and the Trustee’s failure to file a claim before
that expires is, among other things, corporate waste, and a breach of the Trustee’s duty of care and
to be informed. Third, the Trustee’s collection of all or even some of the A/R could shorten the
time necessary to fully administer the estate and pay lawful creditors of the estate in full. Fourth,
the Trustee’s failure to collect property of the estate evinces an intent to administer the estate for
his and his professionals’ benefit; i.e., incurring legal fees prosecuting the FAC instead of
collecting property of the estate. Fifth, TSI Members intend to re-take and re-start TSI’s business
after the chapter 7 estate administration is concluded. The failure by the Trustee to file a claim
now for all A/R during his tenure and before the applicable statute of limitations (approaching)
expires will severely harm TSI and the TSI Members financially. The TSI Members reserve all
rights against the Trustee and his counsel for their failure to take timely action to preserve and
protect TSI’s assets, including all A/R.


3
    The $8.2 million is in addition to the $13.5 million FEMA receivable that the Trustee is actively collecting.

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               Case 22-10066-CTG            Doc 328-1        Filed 07/05/23        Page 5 of 28




        For example, but without limitation, the Trustee was made aware that a claim should be
filed with FEMA to collect $6.8 million at least one year ago. See June 16, 2022 email from Steve
Acosta to the Trustee and his counsel, attached hereto as Exhibit C. As explained below and Mr.
Acosta’s email, this claim against FEMA arose when FEMA issued a certain change order when
TSI, and its subcontractor Bering Straits, were delivering water to victims of Hurricane Maria in
Puerto Rico. FEMA changed delivery terms from delivering water in break bulk to containers.
That change caused TSI to incur substantial extra expense for which it is entitled to reimbursement
from FEMA.

         To date, notwithstanding that the Trustee has retained Venable LLP to collect $13.5 million
from FEMA in a related transaction, the Trustee has not filed a certified submission for TSI’s
initial claim with FEMA for $6.8 million, the deadline of which is rapidly approaching. Even if
the Trustee disbelieves without meaningful, or any, reason, that the $6.8 million is collectible, that
is no excuse not to file a claim. At a minimum, filing the claim for $6.8 million will provide
additional leverage with respect to collecting the $13.5 million claim against FEMA.

        The Trustee has full managerial control over the chapter 7 bankruptcy estate of TSI, a
federal contractor. In seeking the role of permanent trustee in the trustee election, the Trustee held
himself out to the Court and others as knowledgeable in the field of federal contracting and
collection of amounts owed by various agencies of the federal government and that he held the
required security clearances to serve as a key manager for TSI. Notwithstanding his
representations, the Trustee elected to close TSI’s bank account at Artisan’s bank. That bank
account was TSI’s sole SAM-registered account and had a balance of $165,000 and another
$100,000 in DLA Seacard payments in process. The Trustee acted unilaterally in taking such
action without consulting with any TSI Member and to date has not accounted for the $265,000
taken from the estate. The prejudice to the estate by such closure may be substantial because, upon
information and belief, the federal government will only remit amounts owed into a SAM
registered account. The Trustee’s actions have jeopardized the estate’s ability to realize on $22
million in accounts receivable.

        At the last Court hearing, Trustee’s counsel, remarkably, disclaimed knowledge of and the
factual basis for any of the A/R and the related statute of limitations. The Trustee’s counsel also
claimed he did not think the Trustee maintained his own SAM registered bank account. This is
disingenuous and raises concerns. Both the Trustee and his counsel, Archer & Greiner, P.C., have
their own credentials to access SAM. 4 Although the below has already been transmitted to the
Trustee, set forth below is a summary of the A/R owed to the estate for which the Trustee has
failed to file a claim:

               A. The Change Order Receivable in the amount of $6.8 million is owed by FEMA.
                  This estate claim arises out of the same transaction that gives rise to the $13.5
                  million FEMA claim the Trustee (with Venable’s assistance) is already pursuing.
                  The Trustee understands that TSI hired Bering Straits Logistics Services, LLC
                  (“Bering Straits”) as its primary subcontractor for the Multiple Award Task Order


4
 Upon in formation and belief, both Miller Coffey Tate LLP and Archer & Greiner, P.C are registrants in the System
for Award Management (SAM). See also 48 CFR § 4.1800.

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                Case 22-10066-CTG             Doc 328-1       Filed 07/05/23       Page 6 of 28




                   Contract (MATOC) awarded by FEMA. 5 As set forth in Ms. Mott’s deposition
                   transcript discussed above, the Change Order Receivable results from a change
                   order issued by FEMA during Hurricane Maria that required TSI (through its
                   subcontractor Bering Straits) to deliver water in “containers” as opposed to “break
                   bulk.” This resulted in a significant change of already existing logistical plans and
                   Bering Straits, as TSI’s subcontractor, incurring substantial additional charges. TSI
                   paid Bering Straits and now the estate has a claim against FEMA for the amount it
                   paid Bering Straits.

                   As noted, the Trustee was made aware of the Change Order Receivable as early as
                   June 2022. See June 16, 2022 email from Steve Acosta to the Trustee and his
                   counsel (Exhibit C). Mr. Acosta explained that he “tried to reach out to [the
                   Trustee] a few times” and that Ms. Mott and he “would like to get tighter this week
                   to go over the current FEMA Claim so [they] can go over the Pre Negotiated
                   Liquidated Damages for Contract Line Item Number (CLIN) 005” as well as “the
                   FEMA Change Order and the 3 DLA Invoices.”). Importantly, Mr. Acosta in his
                   email pointed the Trustee to Ms. Mott’s deposition transcript which described in
                   detail the basis for the Change Order Receivable. Id. (“Deborah in her deposition
                   walks through the Change Order pretty well I am going to attach[] it with this email
                   so you don’t have to go find it and you will have a better idea when we do talk.”).
                   The TSI Members have also made the Trustee aware of the location of the
                   supporting documents; i.e., the Bering Straits POC.

                   The Trustee’s awareness of the Change Order Receivable is evidenced elsewhere.
                   See exchange of emails between Trustee’s and TSI Members’ counsel dated
                   October 24, 2022 attached hereto as Exhibit D. (“The Insiders have continued to
                   allege that the Debtor is owed $6.8 million in the form of a change order to be
                   submitted to FEMA . . . . We believe that your clients’ reference to a potential
                   FEMA claim is related to additional costs incurred/paid by the Debtor due to FEMA
                   delay and logistical issues that were not anticipated when the Debtor agreed to the
                   contract per diem rate, resulting in significant losses.”).

                   As the TSI Members have previously and repeatedly advised, the Amount of
                   the Claim the Trustee May Assert against FEMA is set forth in the Bering
                   Straits Proof of Claim. Bering Straits was required to keep accurate books and
                   records for all subcontractor performance. See Attachment 1 to Bering Strait’s
                   Proof of Claim, page 8, § 15 (Accounting Records, Reviews, and Reporting). All
                   of the direct costs incurred by Bering Straits as a result of the change order were
                   recorded and reflected in the Bering Straits’ Proof of Claim. See Attachment 3 to
                   Bering Straits’ Proof of Claim, at p. 65, an excerpt of which is attached hereto as
                   Exhibit E. TSI paid Bering Straits for these direct costs, plus a flat 6% fee pursuant
                   to its contract with Bering Straits. The deadline to submit a claim to FEMA for
                   these additional expenses is approaching.



5
    A copy of the MATOC previously was produced to the Trustee as early as April 2022 bearing Bates No. TSI000540.

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                  Case 22-10066-CTG           Doc 328-1        Filed 07/05/23       Page 7 of 28




                     The Bering Straits’ proof of claim sets forth the documents and other information
                     necessary for the Trustee to submit a claim to FEMA for the Change Order
                     Receivable. See Exhibit C at 2 (email at 12:24pm from TSI Members’ counsel
                     stating “I believe that the relevant change order relates to CLIN 2”) and at 1 (email
                     at 12:47pm stating “It is my understanding that all necessary documents related to
                     both CLIN 16 and CLIN 2 are in the Bering Straits folder that was provided on
                     6/29/22. If you need to re-download them, they are at: https://www.dropbox.com/
                     scl/fo/tb8oivw6t74kwtys4l0gk/h?dl=0&rlkey=ebou3v0gq6o7xyijiood00ly6.)

                  B. The $1.2 Million DLA Bulk Fuels RME Receivable. TSI was awarded a Bulk
                     Fuels Contract by DLA for RME, a custom Fuel blend. This contract was filed
                     with the Court in connection with the conversion hearing. See D.I. 119-4. Under
                     this contract, DLA issued a task order, which was later terminated for
                     “convenience.” DLA is required to reimburse TSI if the task order is terminated
                     for the government’s convenience. Pre-petition, TSI submitted a claim for payment
                     and the contracting office (DLA) requested more information. The information
                     was provided, but DLA did not respond. The next step should be for the Trustee
                     (through Venable) to send a letter to DLA’s legal department requesting payment
                     and include the prior claim submission as an exhibit. The deadline to submit the
                     letter may be: August 17, 2023.

                  C. The $198,000 US DLA Aviation Receivable. TSI was awarded an Indefinite
                     Delivery Indefinite Quantity (IDIQ) contract by US DLA Aviation. A copy of this
                     contract was produced to the Trustee in or about June 2022, bearing Bates No.
                     TSI000291. The last order under this contract needs to be processed in WAWF to
                     include a PAR incident report. The DLA contracting officer has requested this
                     information, as late as February 27, 2023.

                  D. The $32,140 U.S. Marine Corp Receivable. The TSI Members recently became
                     aware of this receivable. There was a $32,140 task order (No. 0013) under the DLA
                     Contract No. SPE4A6-14-D-6811, 6 attached hereto as Exhibit F. DLA was
                     incapable of making this payment to TSI because the Trustee closed TSI’s only
                     SAM-registered bank account. This needs to be resubmitted in WAWF after a new
                     TSI account is listed in SAM. See June 7, 2023 Email from DLA contracting
                     officer, attached hereto as Exhibit G.

           III.      The Demand

       The TSI Members hereby demand that the Trustee consent to the TSI Members being
granted standing on behalf of the Debtor’s estate to (a) prosecute the Appeal and (b) file claims
and seek to collect the A/R for the benefit of the estate.
           I look forward to hearing from you.



6
    A copy of this contract previously was produced to the Trustee, bearing Bates Nos. TSI000476-000477.

{00035945. }                                              6
               Case 22-10066-CTG       Doc 328-1      Filed 07/05/23     Page 8 of 28




                                               Respectfully submitted,


                                               /s/ Frederick B. Rosner
                                               Frederick Rosner (DE Bar No. 3995)


cc:      Counsel of record to all Defendants
         (by CM/ECF and email)




{00035945. }                                      7
Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 9 of 28




           Exhibit A
                          Case 22-10066-CTG                    Doc 328-1           Filed 07/05/23            Page 10 of 28




From:                                        Kevin Mann <kmann@crosslaw.com>
Sent:                                        Tuesday, August 9, 2022 11:58 AM
To:                                          Carickhoff, Jr., David W.
Cc:                                          Richard Robles
Subject:                                     RE: Correspondence sent on behalf of Robin Bresky
Attachments:                                 8-4-22 Team Flat Fee Confirmation_K. Mann.docx


Dave – Just following up on the below. Does the Trustee have any objection to the below proposal?



Kevin S. Mann, Esq.
Cross & Simon, LLC
1105 North Market Street
Suite 901
Wilmington, DE 19801
302-777-4200 (Office)
302-981-7193 (Cell)
kmann@crosslaw.com
www.crosslaw.com


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From: Kevin Mann
Sent: Thursday, August 4, 2022 5:00 PM
To: 'Carickhoff, Jr., David W.' <dcarickhoff@archerlaw.com>
Cc: 'Richard Robles' <rrobles@roblespa.com>
Subject: FW: Correspondence sent on behalf of Robin Bresky

Dave – I just received the attached from TSI’s appeals counsel.

I know that you are concerned about the potential for a remand and a new trial. Perhaps we can only seek stay relief for
the completion of the appeal and, should the case be remanded, it would remain stayed unless there is further order of
the Bankruptcy Court. If we did that and my clients paid the $40,000 to the appeals counsel, would the trustee object?

Thanks,
Kevin




Kevin S. Mann, Esq.
Cross & Simon, LLC
1105 North Market Street
Suite 901
Wilmington, DE 19801
302-777-4200 (Office)
                                                                              1
                          Case 22-10066-CTG                    Doc 328-1           Filed 07/05/23            Page 11 of 28
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to the e-mail or by telephoning 302-777-4200. Please then delete the e-mail and any copies of it. Thank you.




From: Gina Rosado <grosado@ssrga.com>
Sent: Thursday, August 4, 2022 4:43 PM
To: Kevin Mann <kmann@crosslaw.com>
Cc: David Martin <dmartin@ssrga.com>
Subject: Correspondence sent on behalf of Robin Bresky

Good Afternoon, Mr. Mann:
Please see attached correspondence sent on behalf of Robin Bresky.


                         Gina Rosado
                         Executive Assistant
                         grosado@ssrga.com
                         2424 North Federal Highway, Suite 456
                         Boca Raton, Florida, 33431
                         Phone: 561-769-5600 | Fax: 561-769-5660
                         www.ssrga.com




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Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 12 of 28




            Exhibit B
           Case 22-10066-CTG         Doc 328-1     Filed 07/05/23    Page 13 of 28




                                Robin I. Bresky - Phone: 561-769-5600 - rbresky@ssrga.com




                                         June 24, 2023

SENT VIA E-MAIL


Kevin S. Mann, Esq.
Cross & Simon, LLC
1105 North Market Street
Suite 901
Wilmington, DE 19801



Dear Mr. Mann:

This will confirm that we will review the Answer Brief, draft the Reply Brief, attend oral
argument if necessary and respond to appellate matters needed to complete the appellate process
including any post decision motions for the flat fee of $40,000.00. This amount does not include
costs including travel costs, if needed.




Best,

/s/ Robin Bresky
Robin Bresky, Esq.




         444 Madison Avenue, New York, NY 10022 | Main: 212-743-7000 Fax: 212-743-7001

2424 North Federal Highway Suite 456, Boca Raton, FL 33431 | Main: 561-769-5600 Fax:561-769-5660

                                         www.ssrga.com
Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 14 of 28




            Exhibit C
 Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 15 of 28




REDACTED (ATTORNEY/CLIENT PRIVILEGE)
Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 16 of 28
Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 17 of 28
Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 18 of 28




            Exhibit D
                          Case 22-10066-CTG                    Doc 328-1           Filed 07/05/23            Page 19 of 28




From:                                        Kevin Mann <kmann@crosslaw.com>
Sent:                                        Monday, October 24, 2022 12:47 PM
To:                                          William Homony; Carickhoff, Jr., David W.; Richard Robles
Subject:                                     RE: TSI - Additional FEMA claim


Thanks for the clarification. It is my understanding that all necessary documents related to both CLIN 16 and CLIN 2 are
in the Bering Straits folder that was provided on 6/29/22. If you need to re‐download them, they are
at: https://www.dropbox.com/scl/fo/tb8oivw6t74kwtys4l0gk/h?dl=0&rlkey=ebou3v0gq6o7xyijiood00ly6.




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to the e-mail or by telephoning 302-777-4200. Please then delete the e-mail and any copies of it. Thank you.




From: William Homony <bhomony@mctllp.com>
Sent: Monday, October 24, 2022 12:41 PM
To: Kevin Mann <kmann@crosslaw.com>; Carickhoff, Jr., David W. <dcarickhoff@archerlaw.com>; Richard Robles
<rrobles@roblespa.com>
Subject: RE: TSI ‐ Additional FEMA claim

Kevin, the Trustee seeks the same requests with respect to delivery or any other costs incurred by the Debtor related to
CLIN 0002, which includes identifying specific documents. Not sure how any of your client’s responses are helpful in any
way.

Thanks.

William A. Homony, CIRA
Miller Coffey Tate LLP
1628 John F. Kennedy Boulevard
Suite 950
Philadelphia, PA 19103
p (215) 561-0950 ext. 26
f (215) 561-0330


                                                                              1
                          Case 22-10066-CTG                    Doc 328-1           Filed 07/05/23            Page 20 of 28

From: Kevin Mann [mailto:kmann@crosslaw.com]
Sent: Monday, October 24, 2022 12:24 PM
To: Carickhoff, Jr., David W. <dcarickhoff@archerlaw.com>; Richard Robles <rrobles@roblespa.com>
Cc: William Homony <bhomony@mctllp.com>
Subject: RE: TSI ‐ Additional FEMA claim

Dave – I have been informed that the documents related to CLIN 16 are all contained within the Bering Straits
documents that have already been provided. If you need me to resend them, please let me know.

However, it is my understanding that there is no money owed under CLIN 16. I believe that the relevant change order
relates to CLIN 2.

Regards,
Kevin




Kevin S. Mann, Esq.
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to the e-mail or by telephoning 302-777-4200. Please then delete the e-mail and any copies of it. Thank you.




From: Carickhoff, Jr., David W. <dcarickhoff@archerlaw.com>
Sent: Monday, October 24, 2022 12:02 PM
To: Kevin Mann <kmann@crosslaw.com>; Richard Robles <rrobles@roblespa.com>
Cc: William Homony (bhomony@mctllp.com) <bhomony@mctllp.com>
Subject: TSI ‐ Additional FEMA claim

Kevin and Richard,
The Insiders have continued to allege that the Debtor is owed $6.8 million in the form of a change order to be submitted
to FEMA related to CLIN 0016 for Drop Trailers. The Drop Trailer rentals were paid to TSI under the Hurricane Maria
Task Order at a per diem rate of $175 per container. It appears that FEMA paid the Debtor the contracted per diem rate
for the entire contract period starting from 11/7/2017 – 7/7/2018 for the Drop Trailers. We believe that your clients’
reference to a potential FEMA claim is related to additional costs incurred/paid by the Debtor due to FEMA delays and
logistical issues that were not anticipated when the Debtor agreed to the contract per diem rate, resulting in significant
losses. In order to allow the Trustee to evaluate this issue and to make a determination as to filing such a claim against
FEMA, we are asking for the documents listed below from your clients as relates solely to the Hurricane Maria Task
Order. To the extent that your clients believe they have already produced such documents, we ask that they identify the
responsive documents by bate stamp. Please consider this my attempt to meet and confer under Rule 2004.

Requested Information and Documents
    Identify all subcontractors/vendors that rendered services to the Debtor related to the Drop Trailers.
                                                                              2
                       Case 22-10066-CTG          Doc 328-1       Filed 07/05/23      Page 21 of 28

         Identify all invoices or other documentation to support Drop Trailer related costs incurred and/or paid by the
          Debtor.
         Identify all payments made by the Debtor to third‐parties related to Drop Trailers.
         Identify all monies the Debtor received from FEMA in connection with Drop Trailers.
         Any and all calculations and supporting documents related to the Insiders allegation that $6.8 million is owed to
          the Debtor from FEMA.

Thanks,
Dave



David W. Carickhoff, Jr., Esq.
Archer & Greiner P.C.
300 Delaware Avenue
Suite 1100
Wilmington, DE 19801
302-356-6621
dcarickhoff@archerlaw.com
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RECIPIENT OF THIS EMAIL, DO NOT READ, DISTRIBUTE OR REPRODUCE THIS TRANSMISSION (INCLUDING ANY ATTACHMENTS). IF YOU
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Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 22 of 28




            Exhibit E
*   I                      Case 22-10066-CTG                                Doc 328-1            Filed 07/05/23   Page 23 of 28

        Case 22-10066-CTG                             Claim 1-1 Part 2                      Filed 02/07/22   Desc Attachment 1    Page 65
                                                                                            of 76

           Water
                             Vendor                   i            Am BUM                   f
                                        ----------- —J._________
           NMda                                                              WSHSm
           Ntaean                                                             402.688.80
           Ntsgua                                                              13,61340
           Nlsgsre                                                            555.173.80
                                                                             2^04,156.20


                                           SofLaort                           12537,415
                                      BB@$0.42Aier
                                                                      5,139,722.70 Invoice Amount



           Transportation
                             Vender                                Amount               j
           Foss Maritime                                                      840,000.00
           Foss Maritime                                                      840,000.00


           Tote Maritime                                                      144,588.24


           Grimes Trueidno                                                       1.705.00

           Grimes Wamhouslng                                                   48,325.00

           Sescube                                                             45.888.75
           Seacube                                                             88,100.00


           Hdt UgisUcs                                                        289.835.00

           HotiTeimiital                                                       180.11900
           Hdl Termiul                                                        158.472^0


           Uls Ayala Colon                                                      14,22447
           UisAyale Colon                                                      13.841.98
           Luis Aysta Colon                                                    28.441.89


           Marsh&McLennan                                                       10.300.00
           Marsh 8 Mclennan                                                     20.00040


           TJMTrueMng                                                            2.400.00
           TJM Tracking                                                          9.20040
           TJM Traddns                                                           9.00040

           Mebro Marine                                                        301.00040
           Metre Marina                                                        301.00040


           Northctifie Ocean                                                   397.750.00
           No nhcttffe Ocean                                                   397,75040

           PIS IcglsEcs                                                        435.600.00
           PIS logistics                                                       488.90040
           PIS Logistics                                                       604,260.00
           PLS Logistics                                                       408,15040
           PLS Logistics                                                       639.99040

           US FleeUtaddng                                                       82,250.00
                                                                             6.869,63243

                                                                               413,97744

           Bill @ Cost + 6% NTE 10.62/flter                           7,313,610,27 invoice Amount
                                7,587.209.70




                                                                                                                             BSLS_000346
Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 24 of 28




            Exhibit F
Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 25 of 28
Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 26 of 28
Case 22-10066-CTG   Doc 328-1   Filed 07/05/23   Page 27 of 28




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           Case 22-10066-CTG               Doc 328-1          Filed 07/05/23          Page 28 of 28


From:            Hill, Patrick A Capt USMC AVIATION (USA)
To:              dmott@tsi-us.net
Cc:              Hawkins, Marcus D CIV DLA AVIATION (USA); Taylor, Caitlyn J CIV DLA AVIATION (USA); Ouch, Boran CTR DLA
                 AVIATION (USA); Morales, Aubrey L SSgt USMC DLA AVIATION (USA)
Subject:         8504344332 // SPE4A6-14-D-6811-0013 // 013680271
Date:            Wednesday, June 7, 2023 8:52:46 AM
Attachments:     image001.jpg


Good morning,

I just wanted to follow up on the status of the subject contract for 46EA. Thank you again for all of
your assistance.

Very Respectfully,
Captain Patrick “Tex” Hill
H-1 Weapon System Support Manager
Marine Customer Facing Division (QAC)-
DLA – Aviation
6090 Strathmore Rd.
Richmond, Virginia 23237
Cell: 281-881-7053
Email: Patrick.hill@dla.mil
h1dra


I am a Weapon System Support Manager with DLA Aviation and am contacting you for coordination
and information gathering purposes only. I have no authority to contractually bind or obligate the
Government, or to change the terms and conditions of your contract or order. Any changes to the
terms and conditions of your contract or order must be directed or approved by the contracting
officer or someone designated by the contracting officer in writing. If you believe, based on our
conversation/correspondence, that there is a need to change the terms and conditions of your
contract or order, you should contact the contracting officer or other POC designated in your
contract or order.
